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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

              v.                                   Case No. 09-CR-20280

FATIMA HOUSSEIN TOUFAILI,

           Defendant.
_________________________/

     ORDER STRIKING APRIL 8, 2010 AFFIDAVIT OF ALI HUSSEIN DARWICH

       On April 8, 2010, the Clerk of the Court docketed an affidavit filed by Ali Hussein

Darwich. In his affidavit, Mr. Darwich challenges the validity of the indictment issued

against Defendant Fatima Toufaili, and also makes various unsupported accusations

about the legality of Defendant’s imprisonment and prosecution. The court has already

stricken one similar affidavit filed by Darwich, and will similarly strike this affidavit. As

stated in the court’s April 9, 2010 order, “Darwich purports to be acting in the interest of

Defendant, but he is not a party in this criminal action, nor is he an attorney

representing Defendant.” (4/9/10 Order at 1.) Defendant herself has not made any of

the assertions stated in Darwich’s affidavit, and Darwich has no standing to assert them

on her behalf. Accordingly,

       IT IS ORDERED that the April 8, 2010 affidavit filed by Ali Hussein Darwich [Dkt.

# 29] is STRICKEN from the docket of this court.

                                             S/Robert H. Cleland
                                            ROBERT H. CLELAND
                                            UNITED STATES DISTRICT JUDGE
Dated: April 13, 2010
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I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, April 13, 2010, by electronic and/or ordinary mail.

                                                                      s/Lisa G Wagner
                                                                      Lisa G Wagner,Case Manager




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